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 1   L. BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 150
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     CEDRIC ROBERSON
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-10-211 FCD
                                         )
 9                     Plaintiff,        )                 AMENDED
                                         )                 STIPULATION TO CONTINUE THE
10                                       )                 STATUS CONFERENCE
           v.                            )                 FROM AUGUST 30, 2010 TO
11                                       )                 NOVEMBER 1, 2010 AT 10:00 A.M.
     CEDRIC ROBERSON, et al.,            )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the following 13 defendants: Terry
15   Roberson, Cedric Roberson, Angelique Marshall, Eva Green, Aisha Stephens, Angenette Brown,
16   Vennie Abram, Volaney Harris, Felecia Edwards, Melissa Geddes, Gregory Ross, Kevin Wallace,
17   and Waiki Pryor, by and through their undersigned defense counsel and the United States of
18   America by and through its counsel, Assistant U.S. Attorney Steven Lapham, that the status
19   conference presently set for August 30, 2010 should be continued to November 1, 2010 at 10:00 a.m.
20          The reason for the continuance is that the parties are engaged in reviewing the discovery and
21   discussing resolution of the case without the need for a trial and additional time is needed to
22   accomplish these two tasks. Accordingly, the time between August 30, 2010 and November 1, 2010
23   should be excluded from the Speedy Trial calculation pursuant to Title 18, United States Code,
24   Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that
25   the ends of justice served by granting this continuance outweigh the best interests of the public and
26   the defendant in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Lapham and other defense counsel
27   have authorized Mr. Locke to sign this pleading for them.
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29                                                    1
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 1
 2   DATED: August 25, 2010                   /S/ Bruce Locke
                                        BRUCE LOCKE
 3                                      Attorney for Cedric Roberson
 4   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For DOUGLAS J. BEEVERS
 5                                      Attorney for Terry Roberson
 6   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For ERIN JOLENE RADEKIN
 7                                      Attorney for Angelique Marshall
 8   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For OLAF WILLIAM HEDBERG
 9                                      Attorney for Eva Green
10   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For PREETI KAUR BAJWA
11                                      Attorney for Aisha Stephens
12   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For MICHAEL BRADLEY BIGELOW
13                                      Attorney for Anjenette Brown
14   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For SCOTT L. TEDMON
15                                      Attorney for Vennie Abram
16   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For DAVID DELMER FISCHER
17                                      Attorney for Volaney Harris
18   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For HAYES H. GABLE, III
19                                      Attorney for Felecia Edwards
20   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For DINA LEE SANTOS
21                                      Attorney for Melissa Geddes
22   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For MICHAEL E. HANSEN
23                                      Attorney for Gregory Ross
24   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For MICHAEL L. CHASTAINE
25                                      Attorney for Kevin Wallace
26   DATED: August 25, 2010                   /S/ Bruce Locke
                                        For KELLY BABINEAU
27                                      Attorney for Waiki Pryor
28
29                                         2
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 2
     DATED: August 25, 2010                   /S/ Bruce Locke
 3                                      For ROBERT STEVEN LAPHAM
                                        Attorney for the United States
 4
 5
 6
 7
 8
 9         IT IS SO ORDERED.
10
11
     DATED: August 26, 2010
12
13
14                                    _______________________________________
                                      FRANK C. DAMRELL, JR.
15                                    UNITED STATES DISTRICT JUDGE
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